                  Case 4:15-cr-00008-BSM                      Document 115        Filed 10/25/17            Page 1 of 8
AO 2450 (Rev. 11116)   Judgment in a Criminal Case for Revocations
                       Sheet 1
                                                                                                                 FILED
                                                                                                           EAsrMR8N 8\~rn\g X~URT
                                     UNITED STATES DISTRICT COURT                                                             KANSAS

                                                         Eastern District of Arkansas
                                                                                                  JAMESW.M
        UNITED STATES OF AMERICA                                       Judgment in a Crimin~Yt'~e--f-7'-X-4-~~~-
                             v.
               ANDREA MANSFIELD
                                                                       Case No. 4: 15CR0008-002 BSM
                                                                       USM No. #49012-177
                                                                        Molly Sullivan
                                                                                               Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           _1_-9_ _ _ _ _ _ _ _ _ of the term of supervision.
D was found in violation of condition(s) count(s)                                 after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                            Violation Ended
1 - Special (1)               Participate in substance abuse treatment program                              08/01/2017

2 - Mandatory (2)                 Not possess a controlled substance                                        08/29/2017

3 - Mandatory (3)                 Unlawful use of a controlled substance                                    08/29/2017

4 - Special (2)                   Participate in mental health program                                      05/08/2017

       The defendant is sentenced as provided in pages 2 through _ _8 __ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notifv the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untfi all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic crrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 7848                     10/25/2017
                                                                                          Date of Imposition of Judgment

                                                                           z~~~~
Defendant's Year of Birth:           1985

City and State of Defendant's Residence:                                                        Signature of Judge
Little Rock, Arkansas
                                                                        Brian S. Miller, U.S. District Judge
                                                                                             Name and Title of Judge

                                                                                ID- 2S-<. \
                                                                                                       Date
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AO 2450 (Rev. l l/16)   Judgment in a Criminal Case for Revocations
                        Sheet IA
                                                                                                          2_ of _ _8__
                                                                                          Judgment-Page _ _
DEFENDANT: ANDREA MANSFIELD
CASE NUMBER: 4:15CR0008-002 BSM

                                                       ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number                Nature of Violation                                                           Concluded


5 - Standard (5)                Notify probation officer of residence change                                  06/22/2017

6 - Standard (1)                Report to the probation office as instructed                                  07/03/2017

7 - Standard (7)                Work full time                                                                01/27/2017

8 - Special (3)                 Pay special assessment of $100                                                01/27/2017

9 - Mandatory (1)               Not commit another crime, federal, state or local                             10/11/2017
                   Case 4:15-cr-00008-BSM                     Document 115      Filed 10/25/17         Page 3 of 8
AO 2450 (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 2- Imprisonment
                                                                                              Judgment - Page   -=3- of     8
DEFENDANT: ANDREA MANSFIELD
CASE NUMBER: 4:15CR0008-002 BSM


                                                              IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

6 months.




     lif' The court makes the following recommendations to the Bureau of Prisons:
The Court recommends the defendant participate in residential or residential substance abuse treatment during
incarceration. The Court recommends the defendant participate in any mental health treatment programs available to
her.

     lif' The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
         D    at   _________ D                        a.m.      D p.m.    on
         D    as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D    before 2 p.m. on
         D    as notified by the United States Marshal.
         D    as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this judgment as follows:




         Defendant delivered on                                                    to

at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL



                                                                         By - - - - - - - - - - - - - - - - - - - - -
                                                                                        DEPUTY UNITED STATES MARSHAL
                 Case 4:15-cr-00008-BSM                      Document 115     Filed 10/25/17         Page 4 of 8
AO 2450 (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 3 - Supervised Release
                                                                                               Judgment-Page   _4__ of          8
DEFENDANT: ANDREA MANSFIELD
CASE NUMBER: 4:15CR0008-002 BSM
                                                          SUPERVISED RELEASE
                                                                                     1 year.
Upon release from imprisonment, you will be on supervised release for a term of:


                                                      MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
     from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                   substance abuse. (check if applicable)
4.    l!f'You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
          where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.     D You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
                 Case 4:15-cr-00008-BSM                      Document 115       Filed 10/25/17          Page 5 of 8
AO 2450 (Rev. 11116)   Judgment in a Criminal Case for Revocations
                       Sheet 3A - Supervised Release
                                                                                                Judgment-Page      5     of        8
DEFENDANT: ANDREA MANSFIELD
CASE NUMBER: 4:15CR0008-002 BSM

                                         STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
      your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
      different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
      and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
      from the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
      officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
      or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
      probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
      been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
      permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
      that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
      nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
      without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
      may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
      contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and
Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                          Date
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  AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                         Sheet 3B - Supervised Release
                                                                                          Judgment-Page   _6_ of      8
  DEFENDANT: ANDREA MANSFIELD
  CASE NUMBER: 4:15CR0008-002 BSM

                                          ADDITIONAL SUPERVISED RELEASE TERMS

14) The defendant will participate under the guidance and supervision of the probation office in a substance
abuse treatment program which may include drug and alcohol testing, outpatient counseling, and residential
treatment. The defendant will abstain from the use of alcohol during supervision. The defendant will pay for
the cost of treatment at the rate of $10 per session, with the total cost not to exceed $40 per month, based
on ability to pay as determined by the probation office. In the event the defendant is financially unable to
pay for the cost of treatment, the co-pay requirement will be waived.

15) The defendant will participate in a mental health program under the guidance and supervision of the
probation office. The defendant will pay for the cost of treatment at the rate of $10 per session, with the
total cost not to exceed $40 per month, based on ability to pay as determined by the probation office. In the
event the defendant is financially unable to pay for the cost of treatment, the co-pay requirement will be
waived.

16) The defendant will participate in a 30 day residential drug treatment program followed by chemical free living.

17) All general and standard conditions previously imposed remain in full force and effect.
                 Case 4:15-cr-00008-BSM                        Document 115             Filed 10/25/17          Page 7 of 8
AO 2450 (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 5 - Criminal Monetary Penalties

                                                                                                      Judgment - Page        7   of    8
DEFENDANT: ANDREA MANSFIELD
CASE NUMBER: 4: 15CR0008-002 BSM
                              CRIMINAL MONETARY PENALTIES

     The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.

                   Assessment                       JVTA Assessment*                Fine                       Restitution
TOTALS          $ 100.00                          $ 0.00                          $ 0.00                     $ 0.00


D    The detennination of restitution is deferred until
                                                        ----
                                                             . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such detennination.

D    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa~ent, unless specified
     o!h~rwise in the ptjority order or p~rcentage P.aym~nt column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
     victuns must be paid before the U-mted States is paid.

Name of Payee                                                                Total Loss**         Restitution Ordered Priority or Percentage




TOTALS


D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the jud~ent, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


D     The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the             D fine         D    restitution.

      D the interest requirement for the           D    fine         D restitution is modified as follows:


*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings forthe total amount oflosses are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
                     Case 4:15-cr-00008-BSM                        Document 115        Filed 10/25/17          Page 8 of 8
    AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                           Sheet 6 - Schedule of Payments

                                                                                                       Judgment- Page ~-8- of              8
    DEFENDANT: ANDREA MANSFIELD
    CASE NUMBER: 4:15CR0008-002 BSM

                                                          SCHEDULE OF PAYMENTS

    Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

    A     ltf Lump sum payment of$ _1_0_0_.o_o_ _ _ _ due immediately, balance due
               D not later than                                          , or
               D in accordance with D C,                D     D,     D E,or     D F below); or
    B     D Payment to begin immediately (may be combined with                  D C,     D D, or      D F below); or
    C     D    Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                            (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

    D     D Payment in equal                    (e.g., weekly, monthly, quarterly) installments of$                     over a period of
                            (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to
               term of supervision; or

    E     D Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release
               from imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
    F     D Special instructions regarding the payment of criminal monetary penalties:




    Unless the court has exJ?ressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
    criminal mone~ renalties IS due during the period of imprisonment. All criminal mone~ penalties, except those payments made
    through the Federa Bureau of Prisons' liunate Financial Responsibility Program, are made to l:he clerk of the court.

    The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




    D    Joint and Several

         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
         corresponding payee, if appropriate.




    D    The defendant shall pay the cost of prosecution.

    D    The defendant shall pay the following court cost(s):

    D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principali (3) restitution interest1 (4) fine principal,(5) fine
interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, me udmg cost of prosecution and court costs.
